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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION, CINCINNATI

 JOSE MARIA DECASTRO,                              :   CASE NO. 1:22-cv-00204
                                                   :
        Plaintiff,                                 :   Judge Michael R. Barrett
                                                   :   Magistrate Judge Stephanie K. Bowman
 v.                                                :
                                                   :   DEFENDANTS PAM WAGNER, BRAD
 PAM WAGNER, ET AL.,                               :   SPOLJARIC, CHANCE BLANKENSHIP,
                                                   :   EVAN MCNIGHT, ROBERT FOUCH,
        Defendants.                                :   AND THE CITY OF IRONTON, OHIO’S
                                                   :   MOTION IN OPPOSITION TO
                                                   :   PLAINTIFF’S MOTION FOR
                                                   :   PROTECTIVE ORDER

        Now come Defendants Pam Wagner, Brad Spoljaric, Chance Blankenship, Evan McNight,

Robert Fouch, and the City of Ironton, Ohio (“the Ironton Defendants”), and for their Motion in

Opposition to Plaintiff’s Motion for Protective Order, state as follows:

I.      INTRODUCTION & PROCEDURAL POSTURE

        Plaintiff’s Complaint was filed with this Court on April 13, 2022. Although the parties

have engaged in early motion practice, the case has been delayed multiple times and remained

stagnant largely due to the Plaintiff’s conduct, unwillingness to participate in an action he chose

to prosecute, and for lack of a better word, gameplaying. This is reflected in reviewing the docket

and by Plaintiff’s actions outlined infra.

        Before addressing the motion herein, it is important to note the procedural posture and

Plaintiff’s course of conduct to this stage of litigation. Shortly after Plaintiff commenced this action

Major Chapman, Jane Doe, and Lawrence County (“the Lawrence County Defendants”) filed their

first Motion to Dismiss on May 11, 2022. (Doc. 8.) The Ironton Defendants filed their first Motion

for Judgment on the Pleadings on June 21, 2022. (Doc. 15.) When Plaintiff failed to respond, this

Court issued two orders to show cause with regard to these motions on June 29, 2022 and July 21,

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2022. (Docs. 16 and 17.) The respective deadlines to show cause were July 22, 2022 and August

11, 2022. (Id.) Interestingly, Plaintiff’s response was not filed until August 11, 2022. (Doc. 18.)

Therein, Plaintiff for the first time claimed that he was not receiving any of the Court’s or

Defendants’ filings even though his postal address has remained the same since the outset of this

case and he presumably received the show cause orders. 1 (Emphasis added.) (Doc. 18.)

Furthermore, Plaintiff noted in his response that he “is committed to prosecuting this litigation and

in anticipation of any of defendants' response, has been working diligently to amend his complaint.

To date Plaintiff has had nothing to which to respond.” (Id.) This Court ultimately granted Plaintiff

30 days to respond or otherwise amend his complaint on August 15, 2022. (Doc. 19.) Plaintiff,

who was working “diligently” to prosecute this case, once again waited until the court’s imposed

deadline—September 15, 2022—to file his Amended Complaint which was largely comprised of

the same allegations contained in his initial complaint. (Compare Doc. 1 with Doc. 20.)

         In response to Plaintiff’s Amended Complaint, the Lawrence County Defendants and the

Ironton Defendants filed their second motion to dismiss and second motion for judgment on the

pleadings. (Docs. 21 and 23.) The motions were filed on September 20, 2022 and September 29,

2022. 2 (Id.) Yet again, Plaintiff failed to timely respond and this Court once again issued two

orders to show cause. (Docs. 25 and 26.) This time the respective deadlines to show cause were

November 17, 2022 and November 30, 2022. (Id.) Plaintiff again failed to timely respond, and this

Court terminated the case on December 6, 2022. (Doc. 27.) Plaintiff then filed for leave citing

excusable neglect and that he still was not being served with the Court’s documents. (Doc. 29.)

Again, Plaintiff’s address has not changed and he presumably received the order dismissing the


1
 Every filing of the Ironton Defendants has been mailed to the same address listed since the outset of this case.
2
  Despite Plaintiff’s address remaining the same throughout the entirety of this action, the Ironton Defendants began
serving Plaintiff via regular mail and email from Doc. 23 through the present due to Plaintiff’s claim “that up and until
July 27, 2022, [he] has received nothing from the defendants or this court.” (Doc. 18.)

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case. Nevertheless, despite the Defendants’ oppositions and Plaintiff’s failure to meet every

responsive deadline, this Court revived this case, granted Plaintiff leave, and allowed him to

continue pursuing this action. (Docs. 29, 30, 31, and Notation Order dated January 13, 2023.)

        After the case was revived in order to advance this case, the Ironton Defendants served

Plaintiff with discovery via electronic mail on April 5, 2023, i.e., almost a full year since the action

commenced. 3 Plaintiff also received this discovery via regular mail on April 11, 2023. (Doc. 39,

PageID 469.) Despite receiving the Ironton Defendants’ discovery requests by April 11, 2023 at

the very latest, Plaintiff did not address or otherwise communicate with the Ironton Defendants

regarding the discovery requests or his concerns as to any failure to confer prior to serving

discovery until May 8, 2023. This is true even though Plaintiff had dealt with the same issue

concerning the Lawrence County Defendants in the previous month. On May 8, 2023, counsel for

the Ironton Defendants followed up on the status of Plaintiff’s discovery responses as the

responsive deadline of May 5, 2023, had passed. Attached hereto as Exhibit A is the email chain

regarding the discovery at issue. Contained therein, it reads:

        Mr. DeCastro,

        Following up on the email below, I have your responsive deadline to our discovery
        requests calendared on May 5, 2023. As such, can you please advise on the status
        of your discovery responses and when we can expect your responses?

        Best regards,

        Nate

In his motion, Plaintiff’s characterization of his response to the above email is as follows:

        Plaintiff responded essentially the same as to the other Defendant’s counsel, asking
        whether Plaintiff should disregard the requests in violation of federal rules or if
        there was any reason why Plaintiff shouldn’t file a motion for sanctions.


3
 As indicated in Plaintiff’s current motion, the Lawrence County Defendants also served written discovery on March
8, 2023.

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(Doc. 39, PageID 470.) Plaintiff’s actual response was:

       My God –

       The ineptitude is staggering. You won the DunceCap of the Day award. They're
       not getting away with it. ESPECIALLY with lawyers like you. You are going to
       make sure that they won't get away with wrongfully arresting me.

       Did you mean to send me interrogatories (especially these ones)? Sending
       interrogatories without leave of the court before the 26(f) conference is improper,
       and these questions are mostly requesting things that will be in my initial
       disclosures or for things wholly inappropriate, especially given my claims. Should
       I disregard these, or is there any reason why I shouldn't file a motion for
       sanctions?

       I think I'm gonna file a motion for sanctions. I won't rest until my good name is
       cleared.

       Regards,
       Jose DeCastro

       Thank you,
       Chille DeCastro

(Emphasis added.) (See Exhibit A.) Plaintiff responded to the Lawrence County Defendants

discovery requests in a similar, although less pejorative, fashion stating:

       I’ve noted your RFPs, but did you mean to send me interrogatories (especially these
       ones)? Sending interrogatories without leave of the court before the 26(f) meeting
       is improper, and these questions are mostly requesting things that will be in my
       initial disclosures or for things wholly inappropriate, especially given my claims.
       Should I disregard these, or is there any reason why I shouldn’t file a motion for
       sanctions? I’m considering doing exactly that. Were you unaware that you’re out
       of bounds?

(Doc. 40-1, PageID 496.) Thus, the only communication with the Defendants were ad hominem

attacks and threats of sanctions. (See Exhibit A; Doc. 40-1, PageID 496.) Plaintiff, when given the

opportunity to advance this case through discovery and generally move this case closer to a

resolution, threatened sanctions instead of conferring as suggested or responding and providing




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the information to which he admittedly stated would be included in his initial disclosures. 4 (Exhibit

A.) (“[T]hese questions are mostly requesting things that will be in my initial disclosures * * *.”)

        Notwithstanding Plaintiff’s derogatory correspondence, and the fact that Rule 26(f)(2)

indicates that the parties, including unrepresented parties, are jointly responsible for arranging the

conference, the Ironton Defendants offered to confer with Plaintiff and provided him with the

Honorable Judge Barrett’s 26(f) discovery plan. (See Id.) The Ironton Defendants’ response

provided Plaintiff with the roadmap to resolve the dispute, i.e., confer and draft a discovery plan.

(Exhibit A.) That option clearly fell on deaf ears as the present motion was filed 6 days later. As

noted previously, the Court had to issue four show cause orders to Plaintiff regarding the

dispositive motions filed by the Defendants. (Docs. 16, 17, 24, and 25.) Even then, Plaintiff did

not respond until the 11th hour to both sets of dispositive motions and the case was even dismissed

and closed. (Docs. 27 and 28.) Yet, when the Defendants make an attempt in a good faith effort to

move this case forward with a pro se party, Plaintiff breaks his silence, curiously utilizes his email

that he does not want to be served through, threatens sanctions, and has the herein motion prepared

within 6 days. Plaintiff only utilizes the process when he believes it is advantageous to his claim.

        Notwithstanding Plaintiff’s course of conduct in this matter thus far, Plaintiff’s Motion for

Protective Order specifically argues that the information sought by the Ironton Defendants is

“highly private and confidential information to embarrass and harass Plaintiff, specifically,

Defendants request tax returns, social security numbers, and private medical records.” (Doc. 39,

PageID 471.) Additionally, Plaintiff argues that the information sought is not proportional to the

needs of this case, and it would invade his privacy. (Id., PageID 471-72.) In support of Plaintiff’s

position, he further contends that his claims are unrelated to: (1) a reduction in income; (2) taxes


4
  The email correspondence attached hereto as Exhibit A is the only direct communication the Ironton Defendants
received from the Plaintiff since the outset of this action.

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paid; (3) mental or emotional injury; (4) physical injury; or (5) loss employment or wages. (Id.,

PageID 470.) Also, Plaintiff claims that the information sought would be included in his initial

disclosures. (Exhibit A; Doc. 39, PageID 469.)

        The Ironton Defendants discovery requests are relevant and proportional to the needs of

this case; the discovery requests do not impose an undue burden on the Plaintiff who chose to

prosecute this case. (Emphasis added.) Furthermore, Plaintiff has failed to demonstrate good cause

and compliance with Federal Rules of Civil Procedure, Local Court Rules, and Standing Orders

of Judge Barrett and Magistrate Bowman regarding discovery disputes. Thus, we request that this

Court deny Plaintiff’s Motion for Protective Order in all respects and order Plaintiff to confer in

good faith regarding the discovery plan in this case.

II.     LAW & ARGUMENT

        A.      Federal Rule Of Civil Procedure 26 Standards Governing Protective Orders

        Federal Civil Rule 26(c) governs protective orders and grants discretion to the Court to

fashion discovery in a manner “to protect a party or person from annoyance, embarrassment,

oppression, or undue burden or expense….” Fed.R.Civ.P. 26(c). To achieve those ends, the Court

may “forbid[] the disclosure or discovery … [or] forbid[] inquiry into certain matters….” Id.

Plaintiff bears the burden of persuasion. United States v. Univ. Hosp., Inc., No. 1:05-CV-445, 2006

WL 2612631, at *2 (S.D. Ohio July 28, 2006). “A party or any person from whom discovery is

sought may move for a protective order in the court where the action is pending—or as an

alternative on matters relating to a deposition, in the court for the district where the deposition will

be taken. The motion must include a certification that the movant has in good faith conferred or

attempted to confer with other affected parties in an effort to resolve the dispute without court

action.” Fed.R.Civ.P. 26(c)(1). Furthermore, the moving party bears the burden of demonstrating



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the alleged harm identified from Rule 26(c)(1) “with a particular demonstration of fact, as

distinguished from stereotyped and conclusory statements.” Serrano v. Cintas Corp., 699 F.3d

884, 901 (6th Cir. 2012). For the reasons set forth below, the Ironton Defendants request that this

Court deny Plaintiff’s Motion.

       B.      Plaintiff Has Not Complied With Federal Rules Of Civil Procedure, This
               Court’s Local Rules, And Judge Barrett’s Standing Orders

       The email chain labeled as Exhibit A is the only communication from Plaintiff to the

Ironton Defendants during the entire pendency of this action. Plaintiff’s efforts certainly fall short

of complying with Fed.R.Civ.P. 26(c)(1) which requires the movant—in this case Plaintiff—to

confer or attempt to confer in good faith. Suffice to say, Plaintiff’s threatened sanctions should not

be classified as conferring in good faith to resolve the dispute without court action. (Compare

Exhibit A with Fed.R.Civ.P. 26(c)(1).)

       With regard to the local rules, S.D. Ohio Civ. R. 37.1, entitled “Consultation Among

Counsel; Informal Discovery Dispute Conference,” provides:

       Objections, motions, applications, and requests relating to discovery shall not be
       filed in this Court under any provision in Fed. R. Civ. P. 26 or 37 unless the parties
       have first exhausted among themselves all extrajudicial means for resolving their
       differences. After extrajudicial means for the resolution of differences about
       discovery have been exhausted, in lieu of immediately filing a motion under Fed.
       R. Civ. P. 26 or 37, any party may first seek an informal telephone conference
       with the Judge assigned to supervise discovery in the case.

And Section D of Judge Barrett’s Standing Order regarding discovery motions states as follows:

       THIS COURT DOES NOT PERMIT DISCOVERY MOTIONS, i.e. motions to
       compel or motions for protective order regarding discovery disputes, unless and
       until counsel use the following procedure: Counsel must first attempt to resolve
       disputes by extrajudicial means (required by S.D. Ohio Civ. R. 37.1 * * *). This
       Court defines [extrajudicial means] as requiring counsel to try to resolve the matter
       both in writing and telephonically. If counsel are unable to resolve the dispute
       between themselves, then they must contact the Court’s Courtroom Deputy, Krista
       Zeller * * *, and a telephone conference with all counsel and the Court will be
       scheduled as soon as possible.

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And finally, Magistrate Judge Bowman’s Standing Order is similar to S.D. Ohio Civ. R. 37.1 and

Judge Barrett’s Standing Order and sets forth the following in Section D:

       2. Motions Relating to Discovery: This Court does not allow motions relating to
       discovery until an informal discovery conference, as described below, is held.

       3. Informal Discovery Conferences: Pursuant to the Federal and Local Rules of
       Civil Procedure, the parties must exhaust all extrajudicial means of resolving
       discovery disputes before contacting the Court. See Fed. R. Civ. P. 37(a)(2); S.D.
       Ohio Civ. R. 37.1. If counsel’s efforts toward an amicable solution have failed,
       counsel should contact the Courtroom Deputy, Kevin Moser, by telephone, in order
       to schedule an informal conference with the Court. Before the conference, counsel
       should prepare and deliver to chambers a brief, no more than 2 pages in length,
       setting forth arguments for or against the requested discovery. * * *

Here, Plaintiff alleges he has “attempted in good faith to confer with Defendants’ counsel to

resolve this dispute but has been unsuccessful.” (Doc. 39, PageID 468.) Nonsense. Plaintiff readily

admits in his motion that he “decided not to respond at all, because it wasn’t worth typing up a

reply letter.” (Doc. 39, PageID 469.) Instead of typing a response letter or email, which could have

led to a reasonable and more timely resolution of the discovery dispute and the case, Plaintiff

waited until after the responsive deadline, failed to exhaust extrajudicial means for resolving the

alleged dispute, and prematurely filed the herein motion. Plaintiff’s two points of contact with the

Defendants’ counsel were not done in good faith. (See Exhibit A; Doc. 40-1, PageID 496.) On this

basis alone, this Court should deny Plaintiff’s motion.

       Of further consequence, Plaintiff failed to comply with this Court’s Local Rules, Judge

Barrett’s Standing Order, and/or Magistrate Judge Bowman’s Standing Order. There is no

indication that Plaintiff: (1) sought an informal telephone conference with either Judge Barrett or

Magistrate Judge Bowman; (2) contacted the Court to schedule a telephone conference with all

counsel and the Court; or (3) that a brief was prepared and delivered to chambers setting forth

arguments against the requested discovery. Due to Plaintiff’s failure to follow the procedures

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outlined supra in his discovery motion, the Ironton Defendants’ the Ironton Defendants request

that this Court deny Plaintiff’s Motion for Protective Order.

       C.      The Ironton Defendants’ First Set of Written Discovery Requests Directed To
               Plaintiff Do Not Cause Annoyance, Embarrassment, Oppressions, Or Undue
               Burden Or Expense.

       Fed.R.Civ.P. 26(c) governs protection orders. The Rule provides that any party to an action

may move for a protective order. It also provides that “[t]he motion must include a certification

that the movant has in good faith conferred or attempted to confer with other affected parties in an

effort to resolve the dispute without court action,” and, if the motion is granted, an order may be

issued “to protect a party or person from annoyance, embarrassment, oppression, or undue burden

or expense * * *.” “This Rule confers broad discretion on the trial court to decide when a protective

order is appropriate and what degree of protection is required.” Eagle v. Hurley Med. Ctr., 292

F.R.D. 466, 478 (E.D. Mich. 2013) (citing Seattle Times Co. v. Rhinehart, 467 U.S. 20, 36, 104

S.Ct. 2199, 2209 (1984)).

       Moreover, with regard to the scope of discoverability, Fed.R.Civ.P. 26(b)(1) states, in part:

       Parties may obtain discovery regarding any matter, not privileged, that is relevant
       to any party's claim or defense .... For good cause, the court may order discovery
       of any matter relevant to the subject matters involved in the action. Relevant
       information need not be admissible at the trial if the discovery appears to be
       reasonably calculated to lead to the discovery of admissible evidence …

Furthermore, “the scope of discovery under the Federal Rules of Civil Procedure is traditionally

quite broad.” Meredith v. United Collection Bureau, Inc., 319 F.R.D. 240, 242 (N.D. Ohio

2017) (quoting Lewis v. ACB Bus. Serv., Inc., 135 F.3d 389, 402 (6th Cir. 1998)). “Generally,

[Rule] 26(b) enables parties to discover any unprivileged evidence or information relevant to their

claim.” Surles ex rel. Johnson v. Greyhound Lines, Inc., 474 F.3d 288, 305 (6th Cir.2007) (citation

omitted). Rule 26(b) of the Federal Rules of Civil Procedure provides that “[p]arties may obtain



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discovery   regarding    any   nonprivileged     matter   that   is   relevant   to   any   party’s or

defense[.]” Fed.R.Civ.P. 26(b)(1). In addition, generally Rule 26(b)(2)(C) only allows courts to

limit the frequency or extent of discovery if:

       (i) the discovery sought is unreasonably cumulative or duplicative, or can be
       obtained from some other source that is more convenient, less burdensome, or less
       expensive;
       (ii) the party seeking discovery has had ample opportunity to obtain the information
       by discovery in the action; or
       (iii) the proposed discovery is outside the scope permitted by Rule 26(b)(1).

Courts, however, will not limit the liberal discovery rules unless the moving party articulates

specific facts that clearly explain how the discovery sought will impose a serious and substantial

injury. Nix v. Sword, 11 F. App'x 498, 500 (6th Cir. 2001). Thus, a mere assertion of burden is not

sufficient; rather a successful motion for protective order limiting discovery must specifically

delineate how compliance with the discovery request will pose substantial and undue burden on

the moving party. See Sterling Merchandising v. Nestle, No. 06-1015(SEC), 2008 WL 1767092,

at *3-4 (D.P.R. Apr. 15, 2008).

       Here, Plaintiff has not specifically addressed which discovery requests of the Ironton

Defendants he takes issue with. Notwithstanding, based on Plaintiff’s motion, he presumably has

issue with any request that would implicate his tax returns, social security number, and private

medical records. First addressing requests for Plaintiff’s tax returns and social security number,

Plaintiff’s Amended Complaint states that “[he] is a videographer, vlogger, and civil rights

activists [sic] who has been video recording, publishing his recordings” on social media forums

such as YouTube, Facebook, and Instagram since 2020. (Doc. 20, PageID 134, ¶ 9.) Furthermore,

“[t]he financial benefits of [his] postings have been an essential economic support for him.” (Id.)

The Amended Complaint goes on to further allege that the Ironton Defendants violated his

constitutional rights by impeding his right to film public officials, conduct and record interviews,

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and other investigatory filming. Presumably, impeding his “essential economic support” would

result in a loss of income.

        By implication, Plaintiff’s social security number and tax returns are relevant and subject

to discovery. Hart v. Alamo Rent a Car, 959 N.E.2d 15, 2011-Ohio-4099, 195 Ohio App.3d 167,

¶ 10 (citing cases) (“Numerous trial and appellate courts have required civil litigants to disclose

SSN in the confines of discovery.”); Palma v. Roman, Civil Action No. 3:16CV-00457-CRS, at

*5 (W.D. Ky. 2017) (“tax returns are not categorically privileged from disclosure in the Sixth

Circuit.”); see also DeMarco ex rel. Bricklayers & Masons’ Local Union No. 5 v. C & L Masonry,

Inc., 891 F.2d 1236, 1240 (6th Cir. 1989) (citing Credit Like Ins. Co. v. Uniworld Ins. Co., 94

F.R.D. 113 (S.D. Ohio 1982) (tax returns and other financial information enjoy no special privilege

from disclosure even when income was not strictly at issue)); Catrinar v. Wynnestone Cmtys.

Corp., No. 14-11872, *4 (E.D. Mich. 2015) (citing White v. Michigan Dept. of Human Servs.,

2011 WL 1882924, *1 (E.D. Mich. 2011) (“Tax returns are subject to discovery in civil litigation

between private parties.”)).

        Turning to Plaintiff’s medical records, Plaintiff vaguely asserts several times throughout

his Amended Complaint that he “has suffered and continues to suffer * * * injury therefrom * *

*.” (Doc. 20, PageID 139-40, ¶ ¶ 28, 32, 35 and 38.) If Plaintiff is not asserting any claims for any

physical, mental, or emotional damages, he need only respond accordingly. Furthermore, the

genesis of this case is an alleged unlawful arrest. Irrespective of the legality of the arrest, it is not

clear what damages Plaintiff is claiming. To the extent that Plaintiff is claiming physical, mental,

or emotional damages, then Plaintiff’s medical records are relevant to this action and subject to

the Ironton Defendants discovery requests.




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       Notwithstanding the foregoing arguments, Plaintiff is entitled to object to providing his

social security number, provide a partial social security number, or object predicated on providing

it off the record during a deposition. Alternatively, Plaintiff may avoid responding to these

discovery requests by entering into a stipulation that he is not pursuing lost income, or any damages

related to physical, mental, or emotional damages. Until then or proven otherwise, Plaintiff’s social

security number, tax returns, and medical records are relevant. Thus, the argument that the Ironton

Defendants requests are being used to embarrass and harass Plaintiff is futile and without merit.

II.    CONCLUSION

       Based upon all of the foregoing, and those arguments set forth in the Ironton Defendants’

Motion in Opposition to Plaintiff’s Motion for Protective Order, the Ironton Defendants

respectfully request that this Court grant deny Plaintiff’s Motion and order Plaintiff to confer in

good faith with the Defendants.

                                               Respectfully submitted,

                                               SURDYK, DOWD & TURNER CO., L.P.A.

                                               /s/ Dawn M. Frick_________
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                                               Trial Attorneys for Pam Wagner, Brad Spoljaric,
                                               Chance Blankenship, Evan McNight, Robert
                                               Fouch, and the City of Ironton, Ohio




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                               CERTIFICATE OF SERVICE

        I hereby certify that on May 25, 2023, I electronically filed the foregoing document with
the Clerk of the Court using the CM/ECF system, a copy of which will automatically be forwarded
to the parties or their counsel of record.


                                                    /s/ Dawn M. Frick_________
                                                    Dawn M. Frick (0069068)




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